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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

NATHSON E. FIELDS,                       )
    Plaintiff,                           )
                                         )       No. 10 CV 1168
     v.                                  )
                                         )       Hon. Matthew F. Kennelly
CITY OF CHICAGO et al.,                  )
     Defendants.                         )


  REPLY TO RENEWED MOTION FOR SANCTIONS AND TO TAKE THE
  DEPOSITIONS OF INDIVIDUALS IN “LEGAL AFFAIRS,” DEPOSITIONS
    OF OTHER INDIVIDUALS IN LEGAL AFFAIRS NOT PREVIOUSLY
                SOUGHT, AND FOR OTHER RELIEF


       Now comes the Plaintiff Nathson Fields by and through his counsel and

asks this Court to grant the relief sought in his motion for the following reasons:

       INTRODUCTION

       The motion filed by Mr. Fields essentially brought to this Court’s attention

a secret policy under which the CPD has been disregarding subpoenas for those

investigative files it has determined to be “open” – Plaintiff’s motion also called

attention to the fact that the CPD has been disregarding such subpoenas without

providing any notice of this policy to criminal defendants and other parties.

Counsel for Mr. Fields have been placed in the unusual situation of being

allowed to glimpse a portion of the files that have been withheld pursuant to this

policy. Counsel have also been afforded an opportunity to view the outside of
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additional file cabinets (more than 201) that contain a plethora of files. Many of

these files have apparently never seen the light of a courthouse, despite the fact

that some relate to homicides that clearly resulted in prosecutions. As explained

in Mr. Fields motion, some of these cabinets appear to contain files of vital

significance not only to Mr. Fields case but to other criminal cases that have

already gone through the criminal court system.

       Although the City focuses its attack on counsel for the Plaintiff, it was the

City and its attorneys that originally suggested that the missing street file in this

case had probably been kept in the file cabinet that contained “open” files from

Area 1 for the period of 1944 through 1985 (although this would not explain the

City’s lapse in failing to provide the file for 28 years). Plaintiff and his counsel

now believe, based on the testimony of Lt. Melean, that this (no longer) secret

policy may explain the City’s failure to tender the street file in a timely manner.

The City’s response to this motion interprets the testimony of Lt. Melean in such

a way as to contradict the substance of Melean’s actual testimony. The City’s

mischaracterization of Melean’s deposition is in keeping with the City’s long-

running cat and mouse game designed to frustrate any pursuit of the truth.


1
  Counsel had originally thought there were 19 file cabinets in the room because she
apparently did not count the actual cabinet that the City thinks contained the Petitioners
file. In addition, counsel did not notice until reviewing photos from her first visit that
there were additional cabinets in back of some of the cabinets that were not docketed on
her inventory of cabinets. During the second visit those cabinets were cordoned off by
the CPD’s movement of the cabinets in front and therefore counsel was unable to
determine exactly how many of these additional files are hidden in back and how those
additional cabinets were labeled. There are at least four (perhaps more) cabinets that fall
in this latter category.

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       The City’s response also appears to denigrate all defense counsel whose

clients’ criminal cases involve investigative files deemed “open” by the CPD and

now held in the boiler room at 51st and Wentworth or elsewhere; the City would

hold defense counsel responsible (including, apparently Mr. Fields’ criminal

attorneys) for not doing more to enforce subpoenas upon being told there was no

additional file or materials in their particular cases. Ultimately, the City contends

that Plaintiff should just move along, because there is nothing more to see or talk

about here because Plaintiff received some (clearly not all) of the investigative

file -- even if it was 28 years late.

       BRIEF BACKGROUND

       On December 14, 2012 plaintiff received, for the first time, some of the

emails regarding the CPDs fetching of the file in the Plaintiff’s case immediately

following the filing of this case. The first email was from Sgt. Loughran

(administrator to the chief of detectives) to Mary Beth Majka in legal affairs on

April 13, 2010 informing Ms. Majka “I received your request for the double

homicide filed under RD#F151922. This investigation remains OPEN with one

offender still at large.” (Ex. A,pg.2) According to attorney Noland, in a discovery

conversation on December 20, 2012, Noland believed that the case was still

considered “open” because Hank Andrews remained at large until 1989---and

that the log was never corrected.(Ex. B,pg.2) Finally, on February 23, 2013

counsel took the deposition of Lt. Melean – the individual who oversaw the

records inquiry section (which included subpoenas) from 2005 to 2010.

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According to Lt. Melean “open Investigations aren’t subject to subpoena.”

Plaintiff believes that this newly discovered information probably explains why

the investigative file in Mr. Fields’ case was not tendered for more than 28 years.


          1. THE SUBPOENA POLICY

       Fields’ criminal attorney complained prior to his initial trial that he had

only received 8 pages of notes in response to the subpoena for the “street file”

even though the investigation was fifteen months old at the time of Field’s arrest.

Each of those 8 pages of notes were dated the same date as the double murder.

According to the trial record the States attorney told Mr. Fields’s attorneys that

there was nothing more. (Ex.C) Between 1985 and 2006, attorneys for Mr. Fields

tendered more than 10 subpoenas issued to the City for the complete

investigative file from the Hickman/Smith murders, but no other investigative

documents were ever tendered until this litigation.

       Subpoenas are court orders requiring compliance and the City’s

suggestion that Plaintiff’s criminal attorneys, and ostensibly the criminal

attorneys involved in every other open file that was never tendered in litigation,

should have somehow done more is without merit. The investigative file in

Petitioner’s case was never produced in response to any of those court orders. In

Plaintiff’s case one of his attorneys filed multiple subpoenas several months

apart until at least one subpoena was returned with “NIF” on the outside and

another saying nothing was found. In addition, in 1988, while awaiting


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execution, Fields also filed a 1983 action seeking the investigative file. The City

conducted an investigation at that time and determined that there was no

investigative file. Never once were any of Mr. Fields attorneys put on notice that

the file was not being tendered because of a policy of the CPD to withhold files in

cases it considered “open.” 2

       The investigative file was finally turned over to Mr. Fields in this civil

rights action on or about September 12, 2011. The approximately 90 pages of

notes and 33 photographs of people of interest contained investigative notes

from the initial investigation following the murders. Glaringly missing from that

file were the eight pages of notes from the date of the murders that were

tendered to Mr. Fields at his first trial. A fact that did not make sense to Mr.

Fields’s counsel until Lt. Melean testified to the subpoena policy in his

deposition.

       In addition to the investigative file that was tendered for the first time in

September of 2011, the “Area file” was tendered for the first time on April 9,

2012 3. The “Area file” was the additional file that the City wanted to add to the

stipulation the parties were negotiating during the summer of 2012 regarding the

missing “street file.” That negotiation ultimately fell apart because counsel for

Plaintiff would not agree to the inclusion of a statement relating to the newly


2
 This, of course, is the reason Plaintiff’s attorneys refer to the CPD policy as “secret.”
3Depositions in this case and other cases from this era confirm that at least two files
were normally kept- the Area file (sometimes referred to as the Unit file) and the
investigatory file. Apparently in Mr. Fields’s case there were three files. One of which
was tendered and two of which were withheld until this litigation.

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tendered “Area File” in that stipulation because she had done no discovery

regarding that withheld file. That insertion of language about the newly found

“area file” was so important to the City that it ultimately allowed the proposed

stipulation to fall apart when counsel for Mr. Fields refused to allow language

relating to the “area file” to be added to the stipulation. The actual language the

City had proposed putting into the stipulation at that time was: “Later, another

inquiry was made to the records division, and the documents Bate stamped City

NF-07559-07652 were located at the CPD warehouse and produced in this

litigation.” (Ex. D-final marked up stipulation proposed by City) The “later

date” referred to in the stipulation was April 9, 2012 and the documents bate

stamped 07559-07652 comprised the newly discovered “Area file.” Counsel for

Mr. Fields still has no idea who suggested to the Dykema attorneys that they

make a new request to the warehouse in the spring of 2012; where that file was

actually found; or, why the file was not located in earlier searches over the many

years when subpoenas were issued-all Plaintiff’s counsel knows is that the City

attorney’s claim that a new search was conducted in the spring of 2012 and that

the “Area file” was located at the warehouse at that time.

       The City refers to that Area file in its footnote 1 to its response and as

noted by the City certain of the documents in that file were also never tendered

to the Plaintiff until this litigation. It appears that Mr. Fields’s “file” – Area file,

investigative file, street file, etc., the sum total of documents now tendered in

regards to the investigation into the murders of Jerome Smith and Talmon

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Hickman – has been “maintained” piecemeal in a few different locations. It is

curious that the City claims to know that certain documents were “found” in the

warehouse, but the City is simply unable to determine where the street file was

kept prior to being tendered to the Dykema attorneys in 2010 or why that file

was never tendered to Plaintiff until 2011.

       Unlike the long missing investigative file, the long missing Area file

included the investigative file inventory sheet and the eight pages of

investigation notes from the date of the murder that were provided to Mr. Fields

at his first trial. The inventory sheet shows the “Area file” being moved to the

Records Division on August 13, 1987 and then later apparently being moved to

the City’s legal department with the following entry….“Corp. Coun. Request-28

Apr. 93.” That was the last entry on the inventory sheet for the Area file. There

was no entry on the inventory sheet that showed the “Area file” ever being

tendered to the warehouse and no explanation as to why 29 years of searching

for Mr. Fields files did not turn that file up until April 2012-unless of course it

was sitting in the corporation counsel’s office all those years as suggested by the

inventory sheet. (Ex. E)

       For that particular file in Mr. Fields’ case it seems to Fields and his counsel

that he has absolute proof that the last place the “area” file was cataloged, until it

mysteriously resurfaced in 2012, was in the office of the corporation counsel. In

addition, the correspondence that accompanied the area file from the Dykema

firm included mention of a document from the file that was being withheld by

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the city on the basis of attorney/client privilege. Until now Plaintiff’s counsel did

not see the need to press for an in-camera review of that document however, in

light of the new developments counsel now believes that document might be

pertinent. Plaintiff will file a separate request for an in-camera inspection of that

document by this Court unless this Court indicates at the status hearing that a

separate request is not necessary. As shown in the attached correspondence the

document withheld on the basis of privilege involved a request that also related

to the Houston case- a lawsuit that involved the wrongful incarceration of Mr.

Elton Houston and many of the defendants in this litigation were also defendants

in Houston. (Ex. F) Plaintiff sought copies of the Houston file (literally boxes of

files) in this litigation and both the County and the City claimed that those files

are lost.

        THE DEPOSITIONS

        Lt. Melean, the person in charge of the Record Inquiry Section (which

included responding to subpoenas for the CPD) for a five year period, a period of

time that included Mr. Fields’ final criminal trial and the last subpoena in Fields’

criminal case, stated under oath that open files -- even old open files – were not

subject to subpoena. He also testified that any request for an open file would be

referred to legal affairs to determine what would and would not be allowed to be

tendered. (City Ex. B@ 19-20) Since we know that Mr. Fields’ file was considered

“open” we have to assume, based on the testimony of Lt. Melean, that every




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subpoena issued in Mr. Fields’ case was referred to the office of legal affairs or its

predecessor.

       The City contends that Mr. Fields has no proof that this was the reason his

file was not tendered – however the testimony of Lt. Melean suggests a strong

possibility that this policy is precisely why Mr. Fields never received his file. In

addition, the fact that Mr. Fields received 8 pages of the investigative file at the

time of his initial trial suggests that the process described by Lt. Melean -- that

legal affairs would decide which, if any, documents from that file could be

turned over, -- occurred in this case and that the office of legal affairs looked at

the file and allowed those eight pages of investigatory notes to be produced to

Plaintiff-and only those eight pages. As noted above the original eight pages

were not in the “missing” street file provided in September 2011, although in

theory those documents ought to have been in that file with the other

investigative notes from the initial investigation. The significance of the missing

investigatory file is that the documents included therein are exculpatory, and

point directly to actual leads and not to Mr. Fields.

       The depositions of individuals in the legal affairs department are

necessary to fully explore the policy and its relationship to Mr. Fields’ missing

file. Stated differently, Fields has very strong circumstantial evidence suggesting

that his file was withheld all of these years because of a secret policy on the part

of the Chicago Police Department to not tender files considered “open” without

the approval of legal affairs. As the city has admitted, no one knows where this

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 investigative file has been, but it has been searched for pursuant to subpoena on

 numerous occasions over the course of the 28 years, and it was never tendered

 until 2011. As we know, the missing investigative file had to be somewhere

 (because it resurfaced all these years later) it is important to know whether or not

 the file was withheld because legal affairs put the kibosh on tendering the file on

 account of its apparently “open” status. 4

        Finally, depositions of the legal affairs attorneys are necessary so that a

 jury can understand the full context of this long missing file.

            2. THE THOUSANDS OF OPEN FILES

        Counsel did not ask to be a witness to the thousands of homicide files that

 the City has categorized as Open and moved to the basement at 51st and

 Wentworth -– cabinets which hold an unknown number of files that were never

 tendered in litigation. Unfortunately counsel are witnesses to this travesty and

 have determined, in the two cabinets that they were allowed to review, that there

 are files in these cabinets for cases that went to trial. Counsel believes that many

 of those files -- like Mr. Fields’ long missing investigatory file -- were never

 tendered in litigation. These files date back as far as 1944 and area as recent as

 2005. They include file cabinets from what used to be called Area’s 1, 2, 3 and 4.

 Counsel for Mr. Fields believe it was their duty to bring this travesty to the

 attention of this Court.



 4
  Of course, the fact that this file (or any file) is withheld in a criminal proceeding after
 receipt of a subpoena because the City considers it “open” is unconstitutional.

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        The individual in charge of the files for the detective division at what was

 Area 1 and what is now called Area Central is Detective Sam Brown. Det. Brown

 admitted in his deposition that he did not know what files were in the cabinets in

 the basement because they have never been inventoried and “that would take his

 whole career” to figure it out. According to Det. Brown, these uncataloged file

 cabinets were moved to the boiler room 5 because there was no room anywhere

 else. (Ex. G, pg. 47) Counsel for Plaintiff also notes that the file cabinets

 themselves contain files that do not correspond to the labels 6- or at least to the

 City’s explanation of what the labels mean: for example, counsel was told that

 the file cabinet that has been renamed “area central 1984- 1988” contains only

 Area 4 files. Exactly why that cabinet and several other cabinets in the boiler room

 that predate 2005 were renamed “area central” when there was no Area Central

 in existence until 2012 has not been explained, but a cursory examination of the

 one “Area Central” cabinet counsel was allowed to review revealed that it also

 contains files from Area 1 and Area 3. As mentioned in Plaintiffs motion, Plaintiff

 believes that the renaming of the file cabinets will make it impossible in the

 future to ever locate files hidden away in that basement.

        Finally, the City vehemently objects to the public airing of any of the

 names and RD#s relating to the files located in the boiler room and for good
 5
   For some reason the City objects to the room being called a boiler room despite the fact
 that the boiler itself sits right next to the file cabinets. Counsel also notes that there is
 standing water in the room. (Ex. H)
 6
   Counsel attempted to look into one additional cabinet that appeared to have been
 renamed after counsels first visit but the Dykema attorney on duty quickly informed her
 that she was not allowed to look in that cabinet.

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 reason -- not because of the privacy of the murder victims -- but because of the

 potential nightmare in regards to individuals who are sitting in prison –- or have

 sat in prison -- and who never received the underlying investigatory files, or

 notice that files were being withheld based on the files status (whether correct or

 not) of being “open.” That should not be a sufficient reason for the City to be

 allowed to continue to hide these files.

        In Mr. Fields two criminal trials it is clear that both he and his attorneys

 were being very aggressive in trying to get to the bottom of the dearth of

 investigative notes but they were being stonewalled by a secret policy. Counsel

 believes that the same occurred to countless other defendants and attorneys over

 the years.

        WHEREFORE, Plaintiff respectfully requests this Court grant his renewed

 motion for sanctions and to order the relief requested herein and any other relief

 this Court deems appropriate.

 Dated: April 25, 2013

                                                 Respectfully Submitted,

                                                 /s/H. Candace Gorman
                                                 One of the Attorneys for Fields
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                           CERTIFICATE OF SERVICE

       I, H. Candace Gorman, hereby certify that the foregoing Reply was served

 to the parties electronically by means of the Court’s CM/ECF system.




 Dated: April 25, 2013

                                               Respectfully Submitted,

                                               /s/H. Candace Gorman
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